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                       Exhibit 1
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater    *         MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April   *
   20, 2010                                   *         SECTION J
                                              *
This document relates to:                     *
All Cases and No. 12-970                      *         HONORABLE CARL J.
                                              *         BARBIER
                                              *
                                              *         MAGISTRATE JUDGE
                                              *         SHUSHAN
                                              *

                     DECLARATION OF RICHARD C. GODFREY




                        [This document has been filed under seal.]
